Case 2:05-cr-20056-SH|\/| Document 144 Filed 09/02/05 Page 1 of 2 Page|D 118

men e‘zw%,,_j;g{&` m

UNITED sTATEs DISTRICT COURT ~» - 1
FOR THE q h
wESTERN DISTRICT 0F TENNESSEE f»5 ¢EF -2 PH 3-= 35

§0...0§§§....0000§..§§§§....0.....§....§§.00.¢0..§§0_§.$§?.0$alD

“I‘ -J.a

  

UNITED sTATEs 0F AMERICA , _
CR. No. 05-20056 Ma ' “
VS.

PATRlCK DOUGLAS,
APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Thomas A. Colthurst applies to the Court for a Writ to have PATRICK DOUGLAS, DOB
08/05/]972, SS# XXX-XX-XXXX now being detained in the West Tennessee State Penitentiarv,
appear before the Honorable Diane K. Vescovo on §t_h, September, 2005, at 9:30 for an Initial
Appearanee and for such other appearances as this Court may direct.

Respectfully submitted this 2nd day of September, 2005.

  

MQL

 

Thomas A. Colthurst
Assistant U. S. Attorney

§§...§........§§.0...§§000................§§......§§......§.
Upon consideration of the foregoing Application,
DAVID JOLLEY, U.S. MARSHAL, WESTERN DlSTRlCT OF TENNESSEE, MEMPHIS, TN
DAVID MILLS ,SHERIFF/WARDEN, WEST TENNESSEE STATE PENITENTIARY
YOU ARE HEREBY COMMANDED to have PATRICK DOUGLAS appear before the Honorable

Tu M. Pham at the date and time aforementioned

ENTERED this l~ day of ;Q»?`FQ`M§'X/zoos.

/:;F@@W\

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

This doc‘_:- \¢m#;=uf= ad :..a roman 315qu eat n _“»Ompi:=‘a W
Nth Hu\e C."" ar ifch 32( (b]F F`F%CrP on ____

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 144 in
case 2:05-CR-20056 Was distributed by faX, rnail, or direct printing on
September 15, 2005 to the parties listed.

 

Thonias A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

